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                                                       CIVIL ACTION NO . 19-CV-2002
                         UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                   Ramsay v. N at'I Bd. of Med. Examiners
                                                            Dec ided Dec 30, 2019



      CIVIL ACTIO          0 . 19-CV-2002                                  format. NBME administers these examinations
                                                                           through   a     third-party-vendor   throughout   the
      12-30-2019
                                                                           U nited States and these examinations are relied
      JESSICA RAMSAY, Plaintiff v.               ATTONAL                   upon by states throughout the country in making
      BOARD OF MEDICAL EXAMINERS Defendant                                 decisions regarding medical licensure. In order to
                                                                           receive the degree of Doctor of Medicine (i. e.
      JOY ER, J.                                                           M .D.), to apply and/or be considered for medical
                                                                           residency training programs, and to become
      MEMORAN DUM A D O RD ER JOYNER, J.
                                                                           licensed as a physician, medical students must
      This case has been brought before this Court on                      first take and pass all of the USMLE "Step"
      Motion of the Plaintiff, Jessica Ramsay, for                         examinations.
      Preliminary Injunction (Doc. No . 7). Fol lowing
                                                                           5. Plai ntiff was requ ired by Western Michigan
      three full-day evidentiary hearings on December
                                                                           Medical School to take and pass the USMLE Step
      3, 4, and 5, 20 19, the matter is now ripe for
                                                                           1 examination at or near the end of her third year
      disposition and we therefore hereby make the
                                                                           of medical school. ln addition to being pre-
      following :
                                                                           req ui site to continuation of their medical school

      FINDINGS OF FACT                                                     educations, scores on the Step I examination are
                                                                           also significant in that they are used by medical
      I . Plaintiff Jessica Ramsay is a citizen of the State
                                                                           residency training programs throughout the United
      of Michigan residing at 6862 Tall Oaks Drive,
                                                                           States to rank student candidates in the very-
      Apt. 3B, Kalamazoo , Mich igan.
                                                                           competitive        residency     match      process.
      2.   Defendant      National   B oard     of     Medical        3    Consequently, •3 even if a student passes the Step
      Examiners ("NBME") is a non-profit corporation                       I examination but with a low score, they may be
2     organized and existing under the •2 laws of the                      unabl e to compete or may be significantly
      Di strict of Columb ia , with its principal place of                 hindered in competing for a residency match with
      business at 3750 Market Street, Philadelphia,                        the possible result that they are not selected at all
      Pennsylvania.                                                        for admission to any residency program upon
                                                                           graduation from medical schoo l.
      3. Plaintiff is a medical student in the M .D .
      program at the Homer Stryker M .D . School of                        6. Step 2 of the USMLE consists of two parts :
      Medicine      of   Western     Michigan        University            Step 2 CK (Clinical Knowledge) and Step 2 CS
      ("WMed").                                                            (C linical Skills). These examinations must also be
                                                                           taken and passed by M .D . medical students prior
     4.    BME develops a series of standardized timed
                                                                           to graduation from medical school.
     examinations that are known collectively as the
     U nited States Medical Licensing Exami nation
      ("USMLE") and w hi ch are largely in written


      casetext
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       7. Step 3 of the USMLE must generally be taken                        has received these accommodations during her
       and passed by graduates of M.D. degree programs,                      medical school career are a number of subject
       prior to licensing as physicians. 1                                   matter examinations developed by NBME.

             1 As noted by NBME in its Answer to                             11 . In or around late November/early December,
               paragraph 18 of Plaintiff's Complaint, this                   20 16 whi le a third-year medical student and in
               process    generally   appl ies   to   medical                anticipation of having to sit for the Step 1
               students   seeking     to   be    licensed   as               USMLE, Plaintiff applied to NBME for test
               allopathic (M .D.) phys icians. Although                      accommodations, seeking many of the same
               similar, the process for testing and/or the
                                                                             acc01mnodations that she had been receiving from
               examinations necessary for licensure as
                                                                             Western Michigan University Medical School and
               osteopathi c (D.O.) physicians may be
                                                                             Ohio State University. Earlier that year, Plaintiff
               somewhat different.
                                                                             had also suffered a deep vein thrombosis in her leg
       8. Only students of accredited medical schoo ls are               5   causing her *5 to miss some three weeks from
       eligible to take the USMLE Step examinations.                         classes. Plaintiff was subsequently diagnosed with
                                                                             a clotting disorder and prescribed Xarelto. In
       9. Plaintiff entered Western Michigan University
                                                                             support of her application for accommodations,
       Medical School in 2014 and had a projected
                                                                             Plainti ff provided the supporting documents
       graduation date of May, 2018 .
                                                                             sought by NBME, including medical and
       10. In March 2009, during her sophomore year at                       psychological evaluation reports and records,
       Ohio State University, Plaintiff was diagnosed                        school reports and a Personal Statement describing
       with Attention Deficit Hyperactivity Disorder,                        her impainnents and how they affect her current,
       Migraine Headaches and probable dyslexia by her                       everyday functioning . Specifically, in addition to
       family physician, Dr. Alan Smiy. She was                              her Personal Statement, Plaintiff had provided
       prescribed Ritalin to treat the ADHD and granted                      copies of her schoo l records from St. Joseph's
4      educational/testing *4 accommodations by and                          Hi gh School, Ohio State University and Western
       through the University's Office of Disabi lity                        Michigan University Medical School, and
       Services ("ODS"), including additional time to                        records/reports       from       the     following
       complete examinations (I 1/2 time), taking                            medical/psychological        providers       and/or
       examinations in a distraction-reduced space                           evaluators: Dr. Mary Alice Tanguay, Therapeutic
       (typically a separate room) , use of visual aids such                 Optometrist, Katherine Turner, M.D., Alan N.
       as colored pencils and markers and access to scrap                    Smiy, M.D., and Charles A. Livingston, M.A., a
       paper, along with access to an ODS counselor                          Licensed Masters Social Worker and Limited
       throughout the balance of her college career.                         Licensed Psychologist.
       These and additional accommodations were also
                                                                             12. NBME did not provide a decision on Plaintiffs
       granted to Plaintiff by her medical school such
                                                                             request until more than three months later - on or
       that she had up to twice (2X) the time to complete                    about March 10, 2017. At the time it denied
       examinations, access to text-to-speech software
                                                                             Plaintiffs request fo r accommodations, NBME
       and calculator during exams, was permitted to                         stated : "Overall, the documents you provided do
       have a granola bar or other snack and water with
                                                                             not demonstrate a record of chronic and pervasive
       her during testing in her separate exam room, an
                                                                             problems with inattention, impulsivity, behavioral
       additional free print allowance, and written
                                                                             regulation, or distractibility that has substantially
       examinations on paper (so she could mark them                         impaired     your    functioning      during    your
       up) . Among the examinations for which Plaintiff
                                                                         6   development or currently." In reaching this *6
                                                                             conclusion, NBME noted that "[d]espite your


-<'~    casetext                                                                                                                     2
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     reported     history     of     difficulties ,   your         these records/reports and all of the other materials
     documentation shows that you progressed through               that she had previously submitted as well as an
     primary and secondary school without grade                    updated Personal Statement, Plaintiff also
     retention, evaluation, or services and with an                provided letters of support from Jennifer
     academic record and scores on timed standardized              Houtman, M.D., her then-primary care physician
     tests sufficient to gain admission to college, all            and her medical school mentor and Clinical Skills
     without accommodations."                                      course instructor, and David Overton, M.D. , the
                                                                   Associate Dean and Chair of the Essential
     13. Faced with an NBME requirement that she
                                                                   Abilities Committee at Western Michigan
     submit new infonnation as a pre-requisite for
                                                                   University Medical School attesting to Pl ai ntiffs
     reconsideration or an appeal of its denial, Plaintiff
                                                                   diagnoses of ADHD, Leaming Disorders,
     took the Step I examination in July 2017 without
                                                                   Migraine Headaches and Clotting Disorder with
     accommodations with the hope that she could pass
                                                               8   recent *8 Deep Vein Thrombosis and Post-
     and enter into her fourth year of medical school. In
                                                                   Thrombotic Syndrome and to her need for
     so doing, Plaintiff was unable to read all of the
                                                                   accommodations on the Step 1 USMLE.
     questions in each testing "block" which required
     her to guess at the answers to those remaining                      2 The   DSM-5     is   the   Diagnostic   and

     questions that she did not have time to read.                         Statistical Manual of Mental Disorders,

     Plaintiff failed the examination by one point.                        Fifth Edition of the American Psyc hiatric
                                                                           Association and the IC D- 10 is the 10th
     14. As a consequence of her failure of the USMLE                      revision of the International Statistical
     Step l exam and in order to afford Plaintiff the                      Classification of Diseases and Related
     opportunity    to   take     the     exam    with                     Hea lth Problems from the World Hea lth

     accommodations, Western Michigan Medical                              Organization.

     School pennitted Plaintiff to take a leave of
                                                                   16. On September 11 , 2018 , NBME again found
     absence which effectively commenced in August
                                                                   that   Plaintiffs   "documentation does       not
     2017. That leave of absence has been extended
                                                                   demonstrate that I 00% additional testing time is
     several times such that it continues to the present.
                                                                   an appropriate modification of your USMLE Step
     However, Plaintiff has been advised by the school
                                                                    I administration," reasoning that since Ms.
     that no further extensions will be granted and she
                                                                   Ramsay's performance on the Conners Continuous
7    will be required to •7 withdraw from the medical
                                                                   Performance Test was normal, she had attained a
     school if she does not take and pass the Step l
                                                                   3.8 Grade Point Average in high schoo l, an ACT
     examination by March 2, 2020.
                                                                   score between 27 and 30 and a 30 M on the
     15. On June 6, 2018, Plaintiff re-applied to NBME             MCAT all under standard conditions, the data did
     for accommodations on her re-take of the Step 1               not "demonstrate a developmental history of
     USMLE, after having submitted to additional                   impaired cognitive or academic functioning or that
     evaluations by Alan Lewandowski, Ph.D., a                     standard testing time is a barrier to your access to
     Neurologist/Clinical Psychologist and Bruce                   the USMLE." Nevertheless, recognizing that
     Reukberg, M.D. a psychiatrist, both of whom                   Plaintiffs clotting disorder required some
     found that Plaintiff met the DSM-5 and the ICD-               accommodation,        BME       granted   Plaintiff
     10 2 criteria for Attention Deficit and Hyperactivity         additional break time and testing over two days, a
     Disorder - Combined Type, and the Specific                    separate testing room to permit her to stand, walk
     Leaming Disorders of Abnormal Scanning and                    or stretch during the exam and permiss ion to read
     Processing Speed with Impairments in Reading                  aloud in that room .
     and Written Expression. In addition to providing



~     casetext                                                                                                            3
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      17. On or about September 25, 2018, Plaintiff                February 14, 20 19 denials. In an email addressed
      consulted    Robert   D.   Smith, Ph.D.,    another          to Pl aintiff by NBM E's Director of Disability
      Psychologist/Neuropsychologist and the Michigan              Services and ADA Compliance Officer for Testing
      Dyslexia Institute for yet another evaluation, this          Programs , Catherine Farmer, dated March 27,
      time targeted at her dyslexia in anticipation of an          20 19, NBME denied the request for further
      appeal of the NBME's September 11 , 20 18 denial.            reconsideration. In the email, Dr. Farmer reiterated
      Dr. Smith administered a battery of tests, some of           that, in view of Plaintiffs "average and above
9     which were the same as those which *9 had been               average perfonnances on timed standardized tests
      previously administered by Dr. Lewandowski and               taken for the purpose of gaining admission to
      Charles Livingston. At the conclusion of testing,            college and medical school," NBME had
      Dr. Smith determined that Plaintiff did indeed               concluded that Plaintiffs "skills are better than
      have the specific     learning disorder of                   most people in the general population." NBME
      developmental dyslexia which impaired her                    made this determination notwithstanding that its
      reading, reading comprehension and severely                  evaluator    had    accepted    that  Plaintiffs
      impaired her reading rate and fluent word                    "exceptionally low scores on timed reading tests
      recognition. Dr. Smith concluded that "Jessica's             administered for the purpose requesting test
      pattern of reading and writing scores is typical of          accommodations [was] valid and credible."
      the intelligent dyslexic reader who struggles with
                                                                   20. In making its decision to deny Plaintiffs
      efficient decoding and processing of the printed
                                                                   requests fo r accommodations, NBME referred Ms.
      words, but can use her intelligence to substantially
                                                                   Ramsay's        applications   and     supporting
      compensate and extract seemingly adequate
                                                                   documentation to two of its outside, independent
      comprehension from passages." In also diagnosing
                                                                   contractor-evaluators, Steven G. Zecker, Ph.D. and
      Plaintiff with Attention Deficit Hyperactivity
                                                                   Benjamin J. Lovett, Ph.D. for their opinions. Dr.
      Disorder - Combined Presentation and finding her
                                                                   Zecker is presently an Associate Professor in the
      level of reading impairment to be severe such that
                                                              11   Department of Communication Sciences • 11 and
      it could be "expected to significantly and
                                                                   Disorders at Northwestern University and has
      substantially interfere with education efforts
                                                                   been employed by NBME as an outside
      without accommodations such as extended time,"
                                                                   consultant/evaluator for the past 16 years. Dr.
      Dr. Smith also recommended a series of testing
                                                                   Lovett is now cmTently an Associate Professor of
      accommodations including 100% additional time.
                                                                   Psychology and Education at Teachers College,
      18. Plaintiff thereafter sought reconsideration of           Columbia University3 and has been employed as
      the NBME's September 11 , 2018 decision by way               an outside consultant/evaluator since 2010. Both
      of an appeal letter sent on her behalf by her                Ors . Zecker and Lovett are paid at the rate of $200
      attorney, Lawrence Berger, on December 12,                   per hour for their reviewing services. Drs. Zecker
      2018. Once again, in reliance on Plaintiffs overall          and Lovett reviewed only the written materials
      strong academic performance throughout her                   submitted by Plaintiff; neither ever interviewed or
      educational career and on the earlier standardized           met her prior to giving their opinions to NBME
10    ACT and MCAT test scores, NBME denied * IO                   and to testifying as expert witnesses before this
      Plaintiffs appeal and her renewed request for the            Court.
      extended testing time accommodation on February
                                                                         3 At the time of hi s rev iew of Pl aintiffs
      14, 2019.
                                                                            accommodati ons request, Dr. Lovett was

      19. On March 19, 2019, Plaintiff's counsel sent                       an Associ ate Pro fessor of Psychology at

      another letter to the NBME requesting                                 the State University of New York (SUNY)
                                                                            Cortland and an Adjunct Professor of
      reconsideration of its September 11, 20 18 and


    ~-~ casetext                                                                                                          4
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             Psychology at Syracuse University. Dr.                           he represented, including NBME.' In that letter,
             Zecker     has      held     his   position   at                 the four organizations took exception to and
             Northwestern University since 1991 .
                                                                              opposed, inter alia : (I) the inclusion of the
     21 . Prior    to      the        enactment    of the       ADA           directive that "the primary object of attention in
     Amendments Act of 2008, NBME, along with                            13   cases brought • 13 under the AD A should be
     seven other standardized testing organizations~,                         whether entities covered under the ADA have
                                                                              complied with their obligations and whether
     sent a letter dated July 14, 2008 to various U.S.
                                                                              discrimination has occurred, not whether the
     Senators opposing the passage of the Act as it was
                                                                              individual meets the definition of disability" in 28
     written. Among the "significant concerns"
                                                                              C.F.R . ~36.I0l(b); (2) the notation that "[t]he
     expressed by these organizations were the
                                                                              question of whether an individual meets the
     "significant costs in complying with the ADA,"
                                                                              definition of disability under this part should not
     and "the important implications beyond just the
                                                                              demand extensive analysis" m 2X C.F.R.
     substantial costs incurred by testing organizations
                                                                              S36. I0l(b) and 28 C.F.R. §36.105(d)(l)(iii); (3)
12   to provide • 12 such accommodations." It was the
                                                                              the language that "[s]ubstantially limits is not
     expressed opinion of the testing organizations that
                                                                              meant to be a demanding standard" proposed for
     "[t)hese requests [for accommodations] involve, in
                                                                              inclusion in 28 C.F.R. §105(d)(l)(i); (4) the
     some way, the very cognitive skills (such as
                                                                              inclusion in the discussion of the proposed rules of
     thinking and concentrating) that a standardized
                                                                              examples of "self-mitigating measures or
     exam is attempting to measure," and that "[t]he
                                                                              undocumented modifications or accommodations
     provision of such accommodations - especially
                                                                              for students with impairments that affect learning,
     extra testing time - can affect the comparability of
                                                                              reading, or concentrating" as possibly including
     the resulting scores and scores achieved under
                                                                              "measures such as devoting a far larger portion of
     standard testing conditions.... Accommodations
                                                                              the day, weekends and holidays to study than
     can thus undennine the very purpose of a
                                                                              students without disabilities; teaching oneself
     'standardized' examination" such that they could
                                                                              strategies to facilitate reading connected text or
     "also affect the interests of the general public if
                                                                              mnemonics to remember facts , receiving extra
     the exams in question are licensing exams or
                                                                              time to complete tests, receiving modified
     exams that are taken to gain access to professional
                                                                              homework assignments , or being permitted to take
     schools such as medical school or law school."
                                                                            exams in a different format or in a less stressful or
          4 These organizations were ACT, Inc., the
                                                                            anxiety-provoking setting. Each of these
             Association         of     American     Medical                mitigating measures, whether formal or informal,
             Colleges, the Federation of State Medical
                                                                            documented or undocumented, can lessen the
             Boards of the United States, Inc., the
                                                                            impact of, and improve the academic function of a
             Graduate Management Admission Council,
                                                                            student having to deal with a substantial limitation
             the Law School Admission Council , the
                                                                         14 in a major life activity such as * 14 concentrating,
             National Conference of Bar Examiners and
                                                                            reading,    speaking,     learning,    or    wntmg.
             the National Counci l of Examiners for
             Engineering and Surveying.
                                                                              evertheless, these are only temporary supports;
                                                                              the individual still has a substantial limitation in a
     22. Some six years later, in response to the ADA                         major life activity and would be a person with a
     Notice of Proposed Rulemaking concerning the                             disability under the ADA." In that same letter Mr.
     drafting of the implementing Regulations by DOJ                          Burgoyne, on behalf of the testing organizations
     for the ADA Amendments Act, Defense counsel                              asked that DOJ "add a regulation which notes that,
     Robert Burgoyne wrote a lengthy letter on behalf                         although mitigating measures are not to be
     of four standardized testing organizations which                         considered in assessing whether a person has a


     casetext                                                                                                                          5
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     disability, it is appropriate to consider such                             • ... many ADHD diagnoses may not
     measures in determining whether accommodations                             "meet the clinical definition ... and thus
     are needed." He suggested: "The purpose of                                 would     not      qualify      for     an
     accommodations is to addre s an individual's                               accommodation         under       the   revised
     functional limitations. If mitigating measures                             definition of disability" (prompting DOJ to
     already         address      an    individual's       functional           reduce its estimate of the # of individuals
     limitations, there is no need for accommodations. "                        with ADHD by 30%)

          5 Mr. Burgoyne represents NBME in this
                                                                                • In response to comments on the proposed
               case and        the organizations which      he
               represented in the drafting of th is letter, in
                                                                                rule, DOJ added ADHD as an example of
               addition to NBME were the Assoc iation of                        a physical or mental impairment that can
               American Medi cal Coll eges ("AAMC"),                            con titute a covered disability
               the    Graduate     Management        Admission
               Co uncil   ("G MAC")     and    the    National                  • ... that, in estimating the cost impact of
               Confe rence of Bar Examiners(" C BE" ).                          the new regulations on testing entities and
                                                                                co lleges when it published its Notice of
     23. On or about December 5, 2016, Defense
                                                                                Proposed Rulemaking, DOJ "had assumed
     counsel Burgoyne gave a power poi nt presentation
                                                                                ba ed on some availabl e research that 30
     in the course of a training em inar to NBME's
                                                                                percent of those who self- identify as
     outside consulting reviewers such as Drs. Zecker
                                                                                havi ng ADHD as their primary disability
     and Lovett, among others, which was entitled
                                                                                would not need additional testing time
     ''ADA Legal Update for NBME and its Outside
                                                                                because they would not meet the clinical
     Consultants." In addition to reviewing the relevant
                                                                                definition of the disability."
     provisions of the ADA applicable to entities
     offering examinations related to licensing and
                                                                                • DOJ retreated from that approach in the
     credentialing for secondary or post-secondary
                                                                                fi nal rule, because of concerns raised by
     education, professional or trade purposes, the
                                                                                some commenters
     presentation included a discussion of the process
     underlying the Department of Justice's ("DOJ'')
                                                                                • "One commenter raised concern about
     Title II and Title III Rulemaking. In the course of
                                                                                presenting    a    specific      percentage   of
15   • 15 that discussion, the power point presentation
                                                                                students with ADHD who would not meet
     included the following observations on the DOJ 's
                                                                                that clinical definiti on, because that
     Notice of Proposed Rulemaking (dated 1/30/1 4
                                                                                number might inadvertently become a
     and found at 79 Fed. Reg. 483):
                                                                                benchmark for postsecondary institutions
                                                                                and national testing entities to deny
                                                                                accommodati ons to a similar percentage of
                                                                                appl icants requesting additional exam time
                                                                                because of their ADHD ."


                                                                                • "The Department did not intend fo r this
                                                                                percentage    to   establish     a   benchmark.
                                                                                Covered entities should continue to
                                                                                evaluate requests fo r additional exam time
                                                                                by all individual s with disabilities on an
                                                                                individualized basis. In direct response to


~~   cas ete xt                                                                                                                    6
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             these concerns, the Department has                                           (A) state the reasons why it
             decided not to reduce the number of                                          issued;
             individuals with ADHD who could now
             receive testing accommodations as a direct                                   (B)     state    its         terms
             result of the ADA                                                            specifically; and

17    * 16                                                                  *17
             Amendments       Act     m      estimating   the                             (C) describe in reasonable
             financial impact of the new regulations ."                                   detail - and not by referring
             (emphasis in original)                                                       to the complaint or other
                                                                                          document - the act or acts
                                                                                          restrained or required.
      DISCUSSION
      On May 8, 2019, Plaintiff filed her Complaint                                  (2) Persons Bound. The order
      commencing this action alleging violations and                                 binds only the following who
      seeking      relief    under    the     Americans     with                     receive actual notice of it by
      Disabilities Act, -l 2 U.S.C.           *
                                    12 10 I , et. seq .                              personal service or otherwise:
      ("ADA") and Section 504 of the Rehabilitation
      Act, 29 U S.C. ~ 79-l ("Section 504"). Following
                                                                                          (A} the parties;
      the filing of Defendant's Answer to the Complaint,
      Plaintiff     filed    the    Motion     for   Preliminary
                                                                                          (B) the parties' officers,
      Injunction which is now before us. By this motion ,
                                                                                          agents,          servants,
      Plaintiff asks this Court to enter an injunction in
                                                                                          employees, and attorneys ;
      her favor preliminarily enjoining and restraining
                                                                                          and
      NBME and all others acting in concert with it
      from refusing to grant her the accommodation of
                                                                                          (C) other persons who are
      100% extended testing (double) time for the
                                                                                          m     active  concert    or
      USMLE Step 1 and all subsequent Step USMLE
                                                                                          participation with anyone
      examinations.
                                                                                          described in Rui c 65(d)(2)
      A . Standards for Ruling on Preliminary Injunction                                  (A) or(B).
      Motions
                                                                            Of course, under Ruic 65(a)( I), a preliminary
      h:d. R. Ci\ . P. 65( d) outlines the "Contents and                    injunction may only issue on notice to the adverse
      Scope of Every Injunction and Restraining Order"                      party.   "A preliminary mJunction 1s an
      by way of the following language:                                     extraordinary and drastic remedy, one that should
                                                                            not be granted unless the movant, by a clear
             (I) Contents.
                                                                            showing, carries the burden of persuasion."
                                                                            Mazurek v. Armstrong, 520 l '.S. 96X, 972 , 117 S.
                 Every order granting an injunction                         Ct.   IX65.     1867,   138      L.    f:.d.2d   162 (1997)
                 and every restraining order must:                          (emphasis in original). "A plaintiff seeking a
                                                                            preliminary injunction must establish that he is
                                                                            likely to succeed on the merits , that he is likely to
                                                                            suffer    irreparable    harm         in   the   absence   of
                                                                            preliminary relief, that the balance of equities tips
                                                                            in his favor, and that an injunction is in the public


      casetext                                                                                                                              7
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      interest." Winter v. NRDC, Inc., 555 U.S. 7. 20 ,            As stated, Plaintiff here is alleging that NBME
      129 S. Ct. 365. 3 74, 172 L. Ed .2d 2-+9 (2008).             violated Title III of the Americans with
      "The grant or denial of a preliminary injunction is          Disabilities Act ("ADA"), 42 U.S.C. I 2182 and  *
18    almost always based on an • 1s abbreviated set of            Section 504 of the Rehabilitation Act ("§504"
      facts,   requiring a delicate balancing of the                                                *
                                                                   and/or "RHA"), 29 U.S.C. 794 by failing to grant
      probabilities of ultimate success at final hearing           her repeated requests for accommodations in the
      with the consequence of immediate irreparable                taking of Step 1 of the USMLE. 0 In general, these
      injury." GlaxoSmithKline Consumer Healthcare,            20 Acts provide the fo llowing in pertinent part: *20
      L.P. v. Merix Phannaceutical Com., No. 05-4566,
                                                                         6 It should be noted that Defendant long ago
      2006 U.S. App. LEXIS 16377, 197 Fed. Appx.
                                                                           conceded that its services constitute a
      120, 123 (3d Cir. 2006)(quoting U.S. Steel Corp_,
                                                                           public accommodation covered by title lII
      v. Fraternal Ass'n of Steelhaulers, 431 F.2d I 046.
                                                                           of the ADA. ~. ~g., Powell v National
      I 0-+X (3d Cir. 1970)). Indeed, "[i]n each case
                                                                           Board of Medical Examiners . .,6-t F 3d 79.
      courts 'must balance the competing claims of                         X5 (2d Cir. 2004 ). Defendant also does not
      injury and must consider the effect on each party                    dispute that it is subject to this portion of
      of the granting or withholding of the requested                      the ADA here. though it denies that it is the
      relief."' Winter, 555 U.S . at 2-+, 129 S. Ct. at 377                recipient of Federal financial assistance
      (quoting Amoco Production Co. v. Gambell, -+80                       such as is required to be subject to §504 of
      U.S. 531. 542, I 07 S. Ct. 1396, 94 L. Ed.2d 542                     the RHA. (Dcrs Ans. to Pl's Campi., Doc.
      (1987)).                                                             No. 3, ,is 3-4). Insofar as it appears that no
                                                                           discovery has been taken and no record
      It should also be noted that in order to make the                    evidence on the matter of NBME's receipt
      required showing of irreparable harm, it is                          of federal funds has been presented,
      incumbent upon the plaintiff to demonstrate that                     however, we cannot and do not address that
      he is threatened by a hann "which cannot be                          issue at this time. Indeed, it is not
      redressed by a legal or equitable remedy... " "The                   necessary that we do so now given that the
      preliminary injunction must be the only way of                       standards adopted by titles 11 and lil of the
      protecting the plaintiff from [the] harm."                           ADA are generally the same as those
                                                                           required under the RHA and that for this
      Camnbell Soun Co. v. ConAgrg, Inc., 977 F.2d 86.
                                                                           reason, Courts typically consider the merits
      91 (3d Cir. 1992)(quoting ECRI v. McGraw-Hill,
                                                                           of claims under both statutes together.
      Inc., 809 F.2d 223. 226 (3d Cir. 1987)). Moreover,
                                                                           Powell, fil!R@, (citing Henrietta D. v.
      "a party seeking a mandatory preliminary
                                                                           Bloomberg, ,; I I . ,d 261. 272 (2d Cir.
      injunction that will alter the status quo bears a
                                                                           2003)); KN v Gloucester City Board of
      particularly heavy burden in demonstrating its                       Education, '7 9 I·. Supp. ><l 33-1 . ,,4_35 5
      necessity." Ferring Pharmaceuticals, Inc. v.                         (D.N.J. 2019). ~ • .ful!gdon v Abbott,
19    Watson * 19 Pharmaceuticals, Inc., 765 F.3d 205.
      219, n. 13 (3d Cir. 2014)((quoting Acierno v. New                    2202 , 14 1 L. fd 2<l 5411. 55~ (1998)("The
      Castle County, -+0 F.3d 645 . 653 (3d Cir. 1994);                    ADA's definition of disability is drawn
      See also, Doe v. Law School Admission Council,                       almost verbatim from the definition of
      Inc., Nos. 17-3230, 17-3357, 2019 U.S. App.                          "handicapped individual" included in the
      LEX IS 32784 at * 10 (3d Cir. Nov. I, 2019)                          Rehabilitation Act of I973, .. . and the
      (same).                                                              definition of "handicap" contained in the
                                                                           Fair Housing Amendments Act of 1988."
      B. Plaintiffs Entitlement to Accommodations                          (internal citations omitted).
      under the Americans with Disabilities Act and/or
      the Rehabilitation Act


      casetext                                                                                                              8
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                                                                       42 U.S.C. ~12 102(1). "Major life activities," m
          § 12182 . Prohibition of discrimination by                   tum, "include but are not limited to, caring for
         public                                                        oneself, performing manual tasks, seeing, hearing,
                                                                       eating,     sleeping,     walking,       standing,     lifting,
          accommodations.                                              bending, speaking, breathing, learning, reading,
                                                                       concentrating,      thinking,         communicating,      and
21       (a) General rule. No individual shall be                      working."      -+2 U.S.C.       *21     ~ 12102(2) .    Under
         discriminated against on the basis of                         Section 504 of the RHA, an "[i]ndividual with a
         disability in the full and equal enjoyment                    disability" is defined to mean in general "any
         of the goods, services, facilities , privileges,              individual who-
         advantages, or accommodations of any                                ( i) has a physical or mental impairment
         place of public accommodation by any                                which for such individual constitutes or
         person who owns, leases (or leases to), or                          results in a substantial impediment to
         operates a place of public accommodation.                           employment; and


                                                                             (ii) can benefit in tenns of an employment
                                                                             outcome from vocational rehabilitation
                                                                             services provided pursuant to title 1, III, or
         §79.t. ondiscrimination under Federal                               VI [29 U.S.C. ~~720 , et. seq. 771, et. seq.
         grants and programs                                                 or 795 et. seq .]

                                                                       29 U.S.C. ~705(20)(A) .
         (a)    Promulgation        of rules     and
         regulations. No otherwise qualified                           Title Ill of the ADA renders testing entities such
         individual with a disability in the United                    as Defendant here subject to its anti-discrimination
         States, as defined in section 7(20) [29                       mandates. In this regard, 42               L .S C.     ~ 12189

         U .S.C. ~ 725( 20)], shall, solely by reason                  provides:
         of his or her disability, be excluded from
                                                                             § 12189. Examinations and courses
         the participation in, be denied the benefits
         of, or be subjected to discrimination under
                                                                             Any person that offers examinations or
         any program or activity receiving Federal
                                                                             courses related to applications, licensing,
         financial assistance or under any program
                                                                             certification or credentialing for secondary
         or activity conducted by any Executive
                                                                             or post-secondary education, professional,
         agency or by the United States Postal
                                                                             or trade purposes shall offer such
         Service . ...
                                                                             examinations or courses in a place and
      Under the ADA, "[t]he term 'disability means,                          manner accessible to persons with
      with respect to an individual                                          disabilities or offer alternative accessible
                                                                             arrangements for such individuals.
         (A) a physical or mental impairment that
         substantially limits one or more major life                   To show a violation of the ADA based on a failure
         activities of such individual;                                to accommodate, a Plaintiff must prove: (1) that
                                                                       she     is disabled; (2)        that     her   requests    for
         (B) a record of such an impairment; or                         accommodation are reasonable; and (3) that those
                                                                        requests have been denied. Rawdin v. American
         (C) being regarded as having such an                           Board of Pediatrics, 9X5 F Supp. 2d 636. 647
         impairment.                                                    (E.D. Pa. 2013); Mahmood v. National Board of


      casetext                                                                                                                           9
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     Medical Examiners, No. 12-1544, 2012 U.S. Di st.                     25 , 2008). Specifically, Congress took exception
     LEX IS 86837, 2012 WL 2368462 at* 4 (E.D. Pa.                        with what it characterized as lower courts'
     June 21 , 2012)). In this case, there is no dispute as               incorrect findings "in individual cases that people
22   to the •22 reasonableness of Plaintiffs requested                    with a range of substantially limiting impairments
     accommodations nor is there any question but that                    are not people with disabilities," and with the
     her request has been denied.' Consequently, the                      then-current EEOC ADA regulations defining the
     threshold issues before us for adjudication are                      term "'substantially limits' as 'significantly
     whether or not the Plaintiff truly is disabled and,                  restricted"' for the reason that that definition was
     of course, whether the pre-requisites for issuance                   "inconsistent with congressional intent, by
     of a preliminary injunction have been satisfied.                     expressing too high a standard." Id. In so doing,
                                                                          Congress meant to convey that its intent was "that
           7 As set forth above in our factual findings ,
                                                                          the primary object of attention in cases brought
             Plaintiff initially sought 100% additional
                                                                          under the ADA should be whether entities covered
             exam time (double time), a separate,
             distraction-reduced       room   for   testing,
                                                                          under the ADA have complied with their
             colored dry-erase markers to use on the
                                                                          obligations," ... and "that the question of whether
             laminated paper, an alarm or timer (either                   an individual's impainnent is a disability under the
             in the room, visible on the computer screen                  ADA should not demand extensive analysis." Id.
             or a visual signal or reminder from a                        The Amendments Act further clarified that:
             proctor), water and a snack in the room to
                                                                              "[t]he detennination of whether an
             faci litate taking needed medications at the
                                                                              impairment substantially limits a major life
             appropriate times.     Following Plaintiffs
             second     application,     NMBE       granted
                                                                              activity shall be made without regard to
             Plaintiff all of her requested modifications                     the ameliorative effects of mitigating
             with the exception of additional time,                           measures such as (I) medication, medical
             although they did permit added break time                        supplies , equipment, or appliances, low-
             and testing over 2 days . Accordingly, the                       vision devices (which do not include
             only accommodation still being sought is                         ordinary eyeglasses or contact lenses),
             that of additional (double) testing time .                       prosthetics including limbs and devices,
                                                                              hearing aids and cochlear implants or other
     In determining the question of Plaintiffs disability,
                                                                              implantable hearing devices, mobility
     we must examine the evidence presented at the
                                                                              devices, or oxygen therapy equipment and
     hearing under the lens of the ADA Amendments
                                                                              supplies; (II) use of assistive technology;
     Act of 2008 which took effect on January 1, 2009.
                                                                              (III) reasonable accommodations or
     As clearly reflected in Section 2, the Findings and
                                                                              auxiliary aids or services; or (IV) learned
     Purpose Notes to the text of the Amendments Act,
                                                                              behavioral or adaptive neurological
     the Statute was a direct response to what Congress
                                                                              modifications."
     believed was the improper narrowing of the
24   "broad scope of protection intended to be afforded                    ..i2 U.S.C.*12102( ➔ HE)( I). *24
     by the ADA" by the Supreme Court decisions in
                                                                           The implementing regulations promulgated by the
     Sutton v. United Air Lines, Inc., 527 L.S. -+7 I
                                                                           Department of Justice' are similar''. Indeed, 29
   (1999) and Toxota Motor Manufacturing,
   Kentucky, Inc. v. Williams, 534 U.S. 18..i (2002)                       C.F.R. ~1630.l(c)(4) and 28 C.F.R. ~36.l0 l(b l
   which had the effect of "eliminating protection for                     both provide:
   many individuals whom Congress intended to                                    8 "Congress directed the DOJ to promulgate
   protect." See, ~g 122 Stat. 3553 ; 110 P.L. 325;
                          0
                              ,                                                    regulations implementing Title III, -+2
23 •23 Enacted S. 3406; 110 Enacted S. 3406 (Sept.                                 L".S.(   ~ 121 Xh(bl,   and, as a result. such



     casetext                                                                                                                       10
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             regulations      are       'entitled   to   substantial                     (1) Rules of construction. The following
             deference,' and 'given controlling weight                                   rules of construction apply when
             unless they are arbitrary, capricious, or
                                                                                         detennining whether an impairment
             manifestly contrary to the statute." ~
                                                                                         substantially limits an individual in a
             v. American Board of Pediatrics, No. 13-
                                                                                         major life activity:
             4544, 5~2 F.:d . App, . 11-l. 118, n.9, 20 14
             U.S .   App.      LEXIS         17002,      2014    WL
             4345834 (3d Cir. Sept. 3, 2014)(quoting                                        (i) The term "substantially limits"
             Chevron,......!.LS.,A,_,     Inc. v. Naniral Res.                              shall be construed broadly in favor
             Defense Council, Inc., -16 7 L .S. x:n. X-l-l,                                 of expansive coverage, to
             10-l S. Ci. 277 X, XI I . I' d. 2d 694 (1984)
25           and Helen L. v DiDario. -lt, 1·. 3J          ,2,.   ,31-              *25
             , 2 (3 d Cir. 1995)).

          9 In fact, the language of 29 C.F.R ~ I (130.2
             and 28 C.F.R. §§ 36. 105 and 36.301
             outlining the purpose and broad coverage
             goal and setting forth key definitions
             nearly mirrors that contained in the statute
             itselfan ~12101 , 12102, 12103 and 12 111.


        Broad coverage. The primary purpose of
        the ADAAA is to make it easier for people
        with disabilities to obtain protection under
        the    ADA.       Consistent      with    the
        Amendments Act's purpose of reinstating a
        broad scope of protection under the ADA,
        the definition of "disability" in this part
        shall be construed broadly in favor of
        expansive coverage to the maximum
        extent permitted by the terms of the ADA.
        The prima1y object of attention in cases
        brought under the ADA should be whether
        covered entities have complied with their
        obligations and whether discrimination has
        occurred, not whether the individual meets
        the definition of disability. The question of
        whether an individual meets the definition
        of disability under this part should not
        demand extensive analysis.

     29 C.F.R. ~1630.2(.i) is particularly instructive
     with regard to the meaning to be ascribed to the
     term "substantially limits" and provides as follows
     in relevant part:




     casetext                                                                                                                       11
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                                                                   (iv) The determination of whether
                                                                   an impairment substantially limits
                                                                   a major life activity requires an
                                                                   individualized        assessment.
                                                                   However,      m     making     this
                                                                   assessment, the term "substantially
                                                                   limits" shall be interpreted and
                                                                   applied to require a degree of
                                                                   functional limitation that is lower
                                                                   than the standard for "substantially
                                                                   limits" applied pnor to the
        the maximum extent permitted by                            ADAAA.
        the   terms  of    the    ADA.
        "Substantially limits" is not meant                        (v)    The companson of an
        to be a demanding standard.                                individual's performance of a major
                                                                   life activity to the performance of
        (ii) An impairment is a disability                         the same major life activity by
        within the meaning of this section                         most people m the general
        if it substantially limits the ability                     population usually will not require
        of an individual to perfonn a major                        scientific , medical , or statistical
        life activity as compared to most                          analysis. Nothing in this paragraph
        people in the general population.                          is intended, however, to prohibit
        An impainnent need not prevent,                            the presentation of scientific,
        or significantly or severely restrict,                     medical, or statistical evidence to
        the individual from perfonning a                           make such a comparison where
        major life activity in order to be                         appropriate.
        considered substantially limiting.
        Nonetheless, not every impairment                          (vi) The determination of whether
        will constitute a disability within                        an impairment substantially limits
        the meaning of this section.                               a major life activity shall be made
                                                                   without regard to the ameliorative
        (iii) The primary object of attention                      effects of mitigating measures.
        in cases brought under the ADA                             However, the ameliorative effects
        should be whether covered entities                         of ordinary eyeglasses or contact
        have     complied     with    their                        lenses shall
        obligations      and       whether
26                                                          *26
        discrimination has occurred, not
        whether an individual's impairment
        substantially limits a major life
        activity. Accordingly, the threshold
        issue of whether an impairment
        "substantially limits" a major life
        activity   should      not     demand
        extensive analys is.




~ casetext
~                                                                                                          12
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      Ramsay v. Nat'I Bd . of Med. Exa miners      CIVIL ACTION NO. 19-CV-2002 (E .D. Pa. Dec. 30, 2019)

          be considered m          detennining                       (i) At all times taking into account
          whether     an           impairment                        the principles in paragraphs (i)( l)
          substantially limits a major life                          (i) through (ix) of this section, in
          activity.                                                  determining whether an individual
                                                                     is substantially limited in a major
          (vii) An impairment that is episodic                       life activity, it may useful in
          or in remission is a disability if it                      appropriate cases to consider, as
          would substantially limit a major                          compared to most people in the
          life activity when active.                                 general population, the condition
                                                                     under    which    the     individual
          (viii)    An     impairment      that                      performs the major life activity; the
          substantially limits one major life                        manner in which the individual
          activity need not substantially limit                      performs the major life activity;
          other major life activities in order                       and/or the duration of time it takes
          to be considered a substantially                           the individual to perform the major
          limiting impainnent.                                       life activity, or for which the
                                                                     individual can perform the major
          (ix) The six month "transitory" part                       life activity.
          of the "transitory and minor"
          exception   to    "regarded     as"                        (ii) Consideration of facts such as
          coverage in § 1630. I S(f) does not                        condition, manner, or duration may
          apply     to the     definition of                         include, among other things,
          "disability" under paragraphs (g)(l)                       consideration of the difficulty,
          (i) (the "actual disability" prong) or                     effort, or time required to perform
          (g)(l)(ii) (the "record of' prong) of                      a   major     life   activity;   pain
          this section . The effects of an                           experienced when performing a
          impairment lasting or expected to                          major life activity; the length of
          last fewer than six months can be                          time a major life activity can be
          substantially limiting within the                          performed; and/or the way an
          meaning of this section.                                   impairment affects the operation of

27                                                            *27




       (4) Condition, manner, or duration --




     casetext                                                                                                13
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                                                                       individual has a disability under the
                                                                       "actual disability" or "record of'
                                                                       prongs          of     the     definition       of
                                                                       disability, the focus is on how a
                                                                       major life activity is substantially
                                                                       limited, and not on what outcomes
                                                                       an individual can achieve . For
                                                                       examp le, someone with a learning
                                                                       disability may achieve a high level
                                                                       of academic            success, but may
                                                                       nevertheless            be         substantially
                                                                       limited in the major life activity of
                                                                       learning because of the additional
                                                                       time or effort he or she must spend
                                                                       to read, write, or learn compared to
                                                                       most       people        m      the        general
                                                                       population.


                                                                       (iv) Given the rules of construction
                                                                       set forth in paragraphs (i}( 1)(i)
                                                                       through (ix) of this section, it may
                                                                       often be unnecessary to conduct an
                                                                       analysis involving most or all of
                                                                       these      types       of facts.         This   is
                                                                       particularly true with respect to
                                                                       impairments             such        as       those
                                                                       described in paragraph (i)(3)(iii) of
                                                                       this    section ,       which         by     their
                                                                       inherent nature should be easily
                                                                       found      to        impose    a     substantial
                                                                       limitation on a major life activity,
                                                                       and for which the individualized
         a     maJor    bodily   function .   In
                                                                       assessment should be particularly
         addition,  the  non-ameliorative
                                                                       simple and straightforward.
         effects of mitigating measures,
         such as negative side effects of
         medication or burdens associated                          (S) Examp les of mitigating measures --
         with       following    a     particular                  Mitigating measures include, but are not
         treatment      regimen,      may     be                   limited to :
         considered       when       detennining
        whether an individual's impairment
         substantially limits a major life
        activity.


        (iii) In determining whether an



-%: casetext                                                                                                                14
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               (i) Medication, medical supplies,                           (a) General. Any private entity that offers
              equipment, or appliances, low-                               examinations or courses related to
              vision devices (defined as devices                           applications, licensing, certification, or
              that magnify, enhance, or otherwise                          credentialing      for      secondary     or
              augment a visual image, but not                              postsecondary education, professional or
              including ordinary eyeglasses or                             trade     purposes     shall    offer  such
              contact     lenses),     prosthetics                         examinations or courses in a place and
              including limbs and devices,                                 manner accessible to persons with
              hearing aid(s)       and   cochlear                          disabilities or offer alternative accessible
              implant(s) or other implantable                              arrangements for such individuals.
              hearing devices, mobility devices,
              and oxygen therapy equipment and                             (b) Examinations. (1) Any private entity
              supplies;                                                    offering an examination covered by this
                                                                           section must assure that --
              (ii) Use of assistive technology;

28   *28                                                                      (i) The examination is selected and
              (iii) Reasonable accommodations                                 administered so as to best ensure
              or "auxiliary aids or services" (as                             that, when the examination is
              defined by 42 U.S.C '. ~ 12103( I) ;                            administered to an individual with
                                                                              a disability that impairs sensory,
              (iv) Learned behavioral or adaptive                             manual or speaking skills, the
              neurological modifications; or
29                                                                   *29

              (v)   Psychotherapy, behavioral
              therapy, or physical therapy.


           (6) Ordinary eyeglasses or contact lenses --
           defined. Ordinary eyeglasses or contact
           lenses are lenses that are intended to fully
           correct visual acuity or to eliminate
           refractive error.

     It is particularly noteworthy for purposes of this
     case that specific learning disabilities such as
     dyslexia and Attention Deficit Hyperactivity
     Disorder are included within the definition of
     "physical or mental impairment" for purposes of
     the Act(s). 28 C.F.R. ~36. 105(b)(l)(ii); (b)(2).
     Furthennore, 28 C.F.R. ~36.309 , the regulation
     which specifically governs the g1vmg of
     "Examinations and Courses" states the following
     in relevant part:




     casetext                                                                                                             15
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                                                                      disabilities or alternative accessible
                                                                      arrangements are made.

                                                                      (iv)       Any        request      for
                                                                      documentation,          if    such
                                                                      documentation is required, 1s
                                                                      reasonable and limited to the need
                                                                      for         the         modification,
                                                                      accommodation, or auxiliary aid or
                                                                      service requested.


                                                                      (v) When considering requests for
                                                                      modifications, accommodations, or
                                                                      auxiliary aids or services, the entity
                                                                      gives considerable weight to
                                                                      documentation         of       past
                                                                      modifications, or related aids and
                                                                      services provided in response to an
                                                                      Individualized Education Program
                                                                      (IEP)    provided    under      the
                                                                      Individuals    with    Disabilities
                                                                      Education Act or a plan describing
                                                                      services   provided     pursuant   to
         examination accurately reflect the                           section 504 of the Rehabilitation
         individual's     aptitude       or                           Act of 1973, as amended (often
         achievement level or whatever                                referred to as a Section 504 Plan).
         other factor the examination
         purports to measure, rather than                             (vi) The entity responds in a timely
         reflecting the individual's impaired                         manner       to     requests     for
         sensory, manual or speaking skills                           modifications, accommodations , or
         (except where those skills are the                           aids to ensure equal opportunity for
         factors that the examination                                 individuals with disabilities.
         purports to measure);

         (ii)   An    examination     that     is
         designed for individuals with
         impaired sensory, manual, or
         speaking skills is offered at equally
         locations, as often, and in as timely
         a     manner      as    are      other
         examinations; and


         (iii)   The    examination       is
         administered m facilities that are
         accessible   to   individuals       with


~   casetext                                                                                                   16
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                                                                       issued by an agency pursuant to statutory
           (2)   Required     modifications      to   an               authority," they thus have the 'force and effect' of
           examination may include changes in the                      law." PDR Network, LLC v. Carlton & Harris
           length of time permitted for completion of                  ChiroRractic, Inc., 139 S. Ct. 2051 . 2055 , 204 L.
           the examination and adaptation of the                       Ed.2d 433 (2019)( quoting Ch[Y.sler Corp..,:,,_,Y_
           manner in which the examination is given.                   Brown, -1-41 U.S. 28 1, 302-303 , 99 S. Ct. 1705, 60
                                                                        L. Ed.2d 208 (1979) and Batterton v. Francis, -1-32
           (3) A private entity offering an                             U.S. -1-1 6. -1-25, n.9, 97 S. Ct. 2399, 53 L. Ed.2d
           examination covered by this section shall                   -1--1-8 (1977)). At the very minimum, the regulations
           provide appropriate auxiliary aids for                      are "entitled to substantial deference" and "given
           persons with impaired sensory, manual, or                   controlling weight" unless "it can be shown that
           speaking skills, unless that private entity                 they are arbitrary, capricious, or manifestly
           can demonstrate that offering a particular                  contrary to the statute." See, n. 8, SURra. See also,
           auxiliary aid would fundamentally alter the                 Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581.
                                                                   3 1 597-598, 119 S. Ct. 2 176. 21 85 -2186, 1-1--1- *3 1 L.
30   *30
                                                                       E:d.2d 5-1-0 (1999)("Because the Department [of
           measurement of the skills or knowledge
                                                                       Justice] is the agency directed by Congress to
           the examination is intended to test or
                                                                       issue regulations implementing Title II, ... its
           would result in an undue burden. Auxiliary
                                                                       views warrant respect") and Bragdon v. Abbott,
           aids and services required by this section
                                                                       524 U.S. 62-1-. 6-1-2, 11 X S. Ct. 2 196, 14 1 L. Ed.2d
           may      include    taped     examinations,
                                                                       540 (l 998)("1t is enough to observe that the well-
           interpreters or other effective methods of
                                                                       reasoned views of the agencies implementing a
           making orally delivered materials available
                                                                       statute 'constitute a body of experience and
           to individuals with hearing impairments,
                                                                       informed judgment to which courts and litigants
           Brailled or large print examinations and
                                                                       may properly resort for guidance"'(quoting
           answer sheets or qualified readers for
                                                                       Skidmore v. Swift & Co., 123 U.S. 134. 139-140,
           individuals with visual impairments or
                                                                       65 S. Ct. 16 1, 89 L. Ed.2d 12-1- (1944)).
           learning disabilities, transcribers for
           individuals with manual impainnents, and                    Defendant NBME does not disagree that the
           other similar services and actions.                         regulatory language addressing the type of
                                                                       accommodations       sought    by    Plaintiff is
           (4) Alternative accessible arrangements                     appropriately applied here if Plaintiff is found to
           may include, for example, provision of an                   be disabled within the meaning of the statutes. See
           examination at an individual's home with a                  ~g., Defendant NBME's Opposition to Plaintiff's
           proctor if accessible facilities or equipment               Motion for Preliminary Injunction at p. 22 . Thus,
           are unavailable. Alternative arrangements                   the threshold question in this matter for purposes
           must provide comparable conditions to                       of assessing the correctness of NBME's decisions
           those      provided      for      nondisabled               to deny accommodations to Plaintiff and
           individuals.                                                detennining Plaintiffs likelihood of success on the
                                                                       merits, is whether or not Ms. Ramsay truly is
                                                                       disabled within the meaning of the ADA and/or
                                                                       the RHA .
     In applying the foregoing to the case at hand, we
                                                                       In resolving this question, we note at the outset
     note that insofar as the above-quoted regulations
                                                                       that Defendant is right that the documentary
     are "the equivalent[s] of a 'legislative rule' ...
                                                                       evidence of Plaintiffs ADHD and dyslexia in her


     casetext                                                                                                                    17
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      early years is indeed sparse and that for the most                visual    memory."          Dr.     Tanguay         prescribed
      part, Plaintiff performed exceedingly well overall                eyeglasses and perceptual skills training which
32    • 32 academically during this time with little help.              took place over a three-month period from
      Likewise, Ms. Ramsay scored quite well on                         February - May, 1998. When Dr. Tanguay saw
      several        standardized           tests      without          Plaintiff again in January 2000, she found her
      accommodations, including the ACT and the                         comprehension        and     perceptual       skills      to   be
      MCAT examinations. Certainly, in comparison to                    excellent but that "[s]he still has the original
      the average individual in the general population,                 vision problem, which may slightly reduce her
      Plaintiff appears to have been and continues to be                reading speed."
      quite successful in her endeavors.
                                                                             IO Some examples of the evidence of such

      Nevertheless,          while        performance        is                  struggles from the record include Plai ntiff's

      unquestionably an important factor to consider, the                        second and third grade school reports from
                                                                                 Sunset    Oaks    Academy      wherein    her
      Regulations make clear that it is not the only
                                                                                 teachers noted "I will help her with the
      consideration. And, the record here does reflect
                                                                                 switching of letters" and "Jessica needs to
      that Plaintiff has a history of having struggled with
                                                                                 focus on getting her work done on time;"
      reading, visual perception, focus and attention
                                                                                 her Stanford Achievement Test Record
      beginning at least in the first or second grade 10 .
                                                                                 from first grade refl ecting that Plaintiff
      While there is no evidence that her elementary                             scored in the 13 th percentile in Word
      school      itself      ever       formally     provided                   Reading, a score th at was in stark contrast
      accommodations, Plaintiffs classroom teachers                              to her next lowest score in the 69 th
      did . These informal accommodations/interventions                          percentile for mathematics computation;
      included providing an alphabet board to assist in                          and the notation on the report of Plainti ff's
      reading and writing letters, a distraction-reduced                         scores on the Iowa Tests of Basic Skills

33    space (i.e. plaintiff was often seated at •31 the                          and Cognitive Abilities Test from the sixth
                                                                                 grade that despite "seem[ing] to be high in
      "time-out" desk), being kept in the classroom
                                                                                 overall cognitive ability" "Jessica's actual
      during recess so she could finish the classwork
                                                                                 achi evement is lower than expected in
      that she couldn't finish during regular class time,
                                                                                 seven test areas. These are Vocabulary,
      being given extra time to complete assignments
                                                                                 Reading       Comprehension,        Spelling,
      and tests and spending extra time with her
                                                                                 Capitalization , punctuation, Soc ial Studies
      teachers, provided a quiet environment, and                                and Math Computation. These represent
      altered grading such that many of her elementary,                          areas in which Jessica is not doing as we ll
      middle and high school teachers agreed to grade                            as she mi ght be expected. Jessica might do
      her on the portions of examinations completed in                           better in these areas with additional effort
      lieu of the tests in their entirety and affording her                      and with continued encouragement."
      opportunities to re-do work that were not afforded
                                                                        Plaintiff testified that fourth and fifth grades
      to all other students . In addition, at or about age 7
                                                                        became far more difficult for her because she had
      and at the recommendation of her classroom
                                                                   34   to do a lot more writing. •3 4 Her homeroom
      teacher because of "reversals in her school work,"
                                                                        teacher was also her language arts teacher, was
      Plaintiff   was       evaluated     by    a   therapeutic
                                                                        very strict and became angry with her because she
      optometrist,    Dr.    Mary       Alice   Tanguay,   who
                                                                        would often forget things , had trouble handing in
      perfonned testing of Plaintiffs visual perceptual
                                                                        her homework and had a lot of difficulty with
      and spatial skills. Dr. Tanguay found "substantial
                                                                        writing and spelling. Only after her mother went
      deficits in the areas of visual-spatial relationships,
                                                                        to see her teacher did Plaintiffs teacher begin
      visual discrimination and was also lacking in
                                                                        spending more time with her to help her get her


-% casetext                                                                                                                                 18
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     work done. Throughout Plaintiff's middle and high           probably also had dyslexia. The record does not
     school years, she spent far more time completing            evince what tests, if any, Dr. Smiy administered to
     her homework assignments and studying for tests             Plaintiff in making his ADHD diagnosis, though
     than her peers, usually receiving late-night help           Plaintiff testified that he told her that the testing
     from her mother to finish her work and proof-read           for dys lexia was long and costly and he wasn't
     her papers. Her friends thought she was                     qualified to administer those tests or diagnose that.
     exaggerating because she was always working on              In any event, Dr. Smiy said that the
     her homework and could only hang out with them              acconunodations for dyslexia were probably the
     in the summer and occasionally on the weekends.             same as for ADHD. He prescribed and Plaintiff
     Plaintiff's hard work evidently paid off as she       36    then began a trial course of Ritalin *36 for ADHD
     graduated from high school with a 3.747 grade               and the record demonstrates that she has taken
     point average, a class ranking of 28 out of a class         medication for ADHD since that time, although
     of 225 and an acceptance to Ohio State University.          the actual medications have varied over the years
     Throughout her high school years, Plaintiff was             and have included Adderall and Vyvanse. She did
     also a multi-sport athlete in swimming and soccer,          not pursue testing for dyslexia at that time.
     and played junior varsity volleyball her freshman
                                                                 Subsequent to her formal diagnosis of ADHD
     and sophomore years. She took the ACT in her
                                                                 from Dr. Smiy and his completion of the necessary
     sophomore and junior years in high school without
                                                                 forms , Plaintiff received testing accommodations
     accommodations and scored well (27 and 30)
                                                                 from Oh io State midway through her sophomore
     overall.
                                                                 year. Those accommodations included receiving
     In college, Plaintiff testified that she had a very         additional time (1 1/2 time) on tests, being able to
     hard time keeping up with the workload because              take exams on paper instead of on the computer,
     of all of the required reading. Since she had lived         being pennitted to use colored pens, markers or
35   in Texas when she was young where *35 Spanish               pencils, having access to scrap paper, taking
     is a much-spoken language, Plaintiff had always             examinations in a distraction-reduced space
     done well in Spanish class in high school. In her           (typically a separate room), and having access to
     college Spanish class oral examinations, she                an ODS counselor throughout the balance of her
     always had high scores. However, her overall                college career. Pl aintiff took the MCAT
     grades would suffer because she had difficulty on           examination while still in college but, as she did
     the written portions of the tests. She asked her            not know that she could receive accommodations
     instructor if it was possible to disregard the              for the test, she did not ask for them and thus took
     written parts of the exams and consider only the            the exam without any. Plaintiff scored reasonably
     oral portions, but her instructor told her that she         well nonetheless, receivi ng a score of 30M .
     could not do that unless plaintiff had a diagnosed
                                                                 At the end of her senior year in college, Plaintiff
     disability. Plaintiff had a similar experience in
                                                                 applied to medical schools, but did not get in.
     organic chemistry and her professor in that class
                                                                 After graduating in June 2012 cum Laude with a
     suggested that she go to the University's Office of
                                                                 3.562 grade point average with a degree in
     Disability Services ("ODS"). ODS referred her to
                                                                 Molecular Genetics from Ohio State, Plaintiff took
     an advisor who in tum recommended that she be
                                                                 some time off, worked doing autism research,
     formally evaluated.
                                                            37   bartending and *37 dancing with a modern dance
     Plaintiff then went to see her primary care doctor,         company and re-applied to medical schools for
     Dr. Alan Smiy who, after listening to her describe          admission in 2014. She was accepted to Western
     her life-long struggles, evaluated and subsequently         Michigan University Medical School and
     diagnosed her with ADHD and told her that she               matriculated in the Fall of 2014.


4    ca setext                                                                                                           19
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         Upon entry to medical school, Plaintiff sought to                           The diagnos is of ADHD , predominantly
         continue receiving the accommodations that she                              inattenti ve, severe, 3 14.00 is supported by
         had received in college. In support of the Request                          the written records, se lf-report, 11                 and
         fo r Reasonable Accommodation that Plaintiff                                objective test results. There has been a
         made to Western Michigan in 20 14, Plaintiff was                            persistent pattern of careless mistakes in
         evaluated by Charles Livingston, M .A., a licensed                          daily activities and schoolwork, difficulty
         social worker and psychologist in the fall of that                          sustain ing     attention        m      tasks         and
         year.     Mr.     Livingston       administered      several                academics, lapses in focus when spoken to
         assessment batteries, notably the Wechsler Adult                            directly,     incomplete fo llow-through on
         Intelligence Scale (WAI S-IV) and the Wechsler                              instructions and tasks of daily living, being
         Individual Achievement Test                 (WIAT)    which                 easily sidetracked, struggling to meet
         resulted in a "broad range in the results, compared                         deadlines, troub le keeping materi als and
         to other people of a similar age. Composite scores                          belongings in order, avoiding reading and
         for verbal comprehension and perceptual (non-                               writing tasks requiring sustained mental
         verbal) reasoning were both at the 96 th percentile.                        effort, losing things, and being easily
         Strengths included abstract verbal reasoning,                               distracted by       extraneous stimuli. The
         practical comprehension, visual spatial reasoning,                          symptoms are not better described or
         and long-term memory. The composite score for                               indicated by a neurotic or psychotic
         working memory attention, and concentration was                             disorder or substance abuse. There 1s
         at the 63 rd percentile. The composite score fo r                           historical info rmation         that    suggests a
                                                th                                   li kelihood of dyslexia.
         processing speed was at the 10              percentile." Mr.
         Livingston went on to observe:
                                                                                  Plaintiff   was    subsequently      granted
               Individuals with similar scores spend so                           accommodations by her medica l school which
               much time and energy in basic data entry                           included having up to twice the time to take
               tasks, so to speak, that there is littl e left fo r                examinations,       taking       examinations            m     a
               higher     order     fluid     reasoning       and                 distraction-reduced space (typically a separate
               synthesizing. Jess ie's exceptionally bright                       room) , use of visual aids such as colored penci ls
               reasoning abilities and long-term memory                           and markers and access to scrap paper 12 , access to
               stand in contrast to                                               text-to-speech software and calculator during
                                                                             39   exams, having a *39 granola bar or other snack
38       *38
                                                                                  and water with her during testing, an additional
               relatively low attention and concentration
                                                                                  free print allowance, and written examinations on
               and very low processing speed. Her native
                                                                                  paper (so she could mark them up). Again,
               intelligence has been some compensation
                                                                                  included among the examinations for which
               for low abilities in the identified areas.
                                                                                  Pl aintiff has received these accommodations
         And he further concluded:                                                during her medical schoo l career are a number of
                                                                                  the ubject matter examinations developed by
                                                                                   BME.

                                                                                       12 At the hearing before the undersigned,
                                                                                          Plaintiff testified that she uses different
                                                                                          co lored pencils in her notetaki ng, among
                                                                                          other endeavors, giving different types of
                                                                                          diseases, conditions, etc. different colors so
                                                                                          that they stand out in her notes and make



0
    ""   ca setext                                                                                                                                   20
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             them easier to locate while studying. She                  attention deficit hyperactivity disorder and a
             prefers to use pencils because she often                   nonverbal learning disability characterized by
             makes mistakes. She explained th at it is
                                                                        abnormal scanning and processing speed.
             difficult and time-consuming fo r her to
             decode each word separately and read                       Additionally, Plaintiff also produced an 8-page
             through text so she uses her finger or                     report from her treating psychiatrist, Dr. Bruce
             another object to keep her place as she                    Ruekberg, M.D. , a 5-page report from Jennifer
             goes through the decoding/reading process.                 Houtman, M.D., Plaintiff's then-primary care
             Plaintiff also testified that she usually                  physician and medical school mentor, a letter of
             needs to read through sentences and                        support from David Overton, M.D., the Associate
             paragraphs several times usuall y aloud, in
                                                                        Dean of WMed, and a 30-page report from Robert
             order to comprehend the meaning of the
                                                                        D. Smith, Ph.D. a licensed psychologist and
             text.
                                                                        neuropsychologist with the Michigan Dys lexia
     In addition to providing reports and records from                  Institute. For his part, Dr. Ruekberg gave his
     Dr. Tanguay, Dr. Smiy and Mr. Livingston,                          professional opinion that Plaintiff had functional
     following       BME's initial denial of her                        limitations due to ADHD, Combined type and the
     accommodations request, Plaintiff also underwent                   Specific Leaming Disorder of abnormal scanning
     evaluations and/or produced the resu lts of her                    and processing speed with impairments in reading
     examinations by several other providers, all of                    and written express ion and that she thus was
     whom agreed with the diagnoses that she had been                   "without question, ... a qualified person with
     previously given of, inter alia, Attention Defici t                di sabi lities under the ADA. .. "
     Hyperactivity Disorder and Dyslexia. Specifically,
                                                                        Dr. Houtman confirmed "from                personal
     Plaintiff produced a report of her neurocognitive
                                                                        observation of [plaintiff] as a patient, and as a
     examination by Alan Lewandowski, Ph.D, a board
                                                                        student, that she has the followi ng diagnoses that
     certified neuropsychologist, who administered a
                                                                   41   require     accommodations:        attention   *41
     broad series of assessments to Plaintiff including
                                                                        deficit/hyperacti vity     disorder,      Combined
     the WAIS-IV, the Wide Range Achievement Test
                                                                        presentation ... , Leam ing disability, nonverbal
     (4 th ed.), Sensory Perceptual Examination, Tactile
                                                                        (abnormal scann ing and processing speed ... [w]ith
     Finger Recognition Test, Finger-tip Number
                                                                        impairment in reading ..., [w]ith impairment in
     Writing Test, Tactile Form Recognition Test, the
                                                                        written express ion ..., Migraines with aura, without
     California Verbal Leaming Test (2d ed.), the Rey
                                                                        status migranosis ..., [c]lotting disorder with recent
     Osterrieth Complex Figure Test, a Grip Strength
                                                                        Deep     Venous       Thrombosis .. ./Post-thrombotic
     Test, Finger Oscillation Tactile Perfonnance Test,
                                                                        syndrome." (diagnostic codes from DSM-5 and
     Trail Making Tests A and B, Category Test, the
                                                                        ICD-10 omitted).
     Seashore Rhythm Test, the Speech Sounds
     Perception Test, a Personality Assessment                          Dr. Smith, who also testified at the hearing in this
40   Inventory and an Aphasia *40 Screening Test. In                    matter, reported that he diagnosed Ms. Ramsay
     reviewing the results of the tests administered, Dr.               with Specific Leaming Disorder with impairment
     Lewandowski found that while Plaintiff's                           in reading (deve lopmental dyslexia), reading
     achievement studies were normal, her intellectual,                 comprehension, severely impaired reading rate
     neurocognitive and psychological studies were                      and fluent word recognition and with ADHD
     abnormal/borderline abnonnal and it was his                        Combined after interviewing her and her mother
     clinical impression that Plaintiff indeed had                      and administerin g the fo llowing battery of tests :
                                                                        the Test of Memory Malingering (TOMM), Adult
                                                                        ADHD Rating Scale-IV with Adu lt Prompts,



-~ casetext                                                                                                                      21
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      Nelson-Denny Reading Test, Wechsler Individual                    Ms. Ramsay's academic history prior to
      Achievement Test (3d ed.) (WIAT-III), Woodcock-                   medical school and her exceptional
      Johnson IV Test of Achievement, Gray Oral                         unaccommodated         standardized      test
      Reading Tests (5 th ed.)(GORT), the Integrated                    performance, in my professional opinion,
      Visual & Auditory Continuous Performance Test                     provide strong evidence that Ms. Ramsay
      (IVA + Plus) and reviewing the Symptom                            is not substantially impaired in a major life
      Checklist-90 Revised (SCL-90-R).                                  function in a manner that warrants
                                                                        accommodations on the USMLE under the
      Despite this evidence and primarily in reliance on
                                                                        ADA.
      the opinions of its two outside-contracted
43    reviewing experts, NBME concluded that Plaintiff            *43
      is not disabled and it has therefore denied her
                                                                  In addition to Dr. Zecker, NBME also referred
      requests for accommodations. NBME's first
                                                                  Plaintiffs file to Benjamin Lovett, Ph.D, who is an
42    outside • 42 reviewing expert, Steven G. Zecker,
                                                                  Associate Professor at Teacher's College of
      Ph.D. is an Associate Professor of Communication
                                                                  Columbia University and who has also been
      Sciences and Disorders at Northwestern
                                                                  employed as an external consultant/reviewer by
      University and is licensed in Illinois as a
                                                                  NBME and other testing providers since 2010. Dr.
      Registered Clinical Psychologist. He testified that
                                                                  Lovett attested that his professional expertise is in
      he specializes in Learning Disorders and ADHD
                                                                  the     diagnosis   and      management       of
      and that he supervises the clinic run by
                                                                  neurodevelopmental disorders, including Learning
      Northwestern University graduate students. As a
                                                                  Disabilities and ADHD and he has published
      clinician, Dr. Zecker primarily sees young, school-
                                                                  numerous articles and book chapters on these
      age children aged around 6-7 years of age through
                                                                  subjects. As part of his work, he often meets with
      young adults. He rarely sees adults. Dr. Zecker has
                                                                  young adults who have learning and attention
      been employed as an external consultant for
                                                                  problems and assesses their self-reported
      NBME and other testing providers for the past 16
                                                                  symptoms and their objective perfonnances on
      years and he reviewed both Plaintiffs first and
                                                                  various tests of cognitive, academic and
      second requests for accommodations on the Step I
                                                                  behavioral functioning . Dr. Lovett testified that
      USMLE. Although he did not doubt that the tests
                                                                  ADHD and Leaming Disorders are considered
      administered by her providers had been
                                                                  under the DSM-V to be neurodevelopmental
      appropriately given or that the scores were as
                                                                  disorders because they begin early in childhood
      reported, m reviewing the documentation
                                                                  and thus, in the absence of symptoms during
      submitted by Plaintiff including her personal
                                                                  childhood, the criteria for diagnosing those
      statement, and the reports and records outlined
                                                                  conditions is not satisfied. Since he did not see
      above, Dr. Zecker took exception with the
                                                                  any evidence that Ms. Ramsay's symptoms had
      conclusions reached in that he did not believe that
                                                                  presented during chi ldhood, he did not believe that
      the tests results supported the other providers'
                                                                  she had a disorder.
      findings of ADHD and LD. In any event, Dr.
      Zecker stated:                                              In reviewing the documentation submitted by
                                                                  Plaintiff, Dr. Lovett also did not find the scores or
                                                                  the conclusions of those providers who had
                                                             44   evaluated and diagnosed Plaintiff to be *44
                                                                  credible.    Rather, he     testified that he looks
                                                                  primarily at what he characterized as "real-world"




-%- casetext                                                                                                              22
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     test scores, i.e. those standardized tests actually          perfonnance on standardized tests and on the
     taken and under what conditions, in assessing the            paucity of documentation of disability in her
     strength of a diagnosis. According to Dr. Lovett,            primary and secondary school years. To be sure, it
                                                                  is certainly possible that they did not have the
         Here, there is insufficient evidence that
                                                                  benefit of seeing all of the early school records
         Ms. Ramsay is substantially limited in her
                                                                  which were produced to this Court. However, in
         ability to read or engage in any other
                                                                  their rejection of the conclusions of those
         activity that is relevant to taking the
                                                                  providers who actually did evaluate Plaintiff, Drs.
         USMLE, when she is compared to most
                                                                  Lovett and Zecker instead undertook to analyze
         people in the general population, at least
                                                                  the results of the various tests themselves,
         with regard to LD/ ADHD issues. There are
                                                                  substituting their own opinions regarding how
         no historical school or work records
                                                                  those test results should be interpreted. In thus
         reflecting such limitations. Although at
                                                                  adopting the findings of Drs. Zecker and Lovett,
         times Ms. Ramsay has obtained scores
                                                                  NBME did likewise.
         during diagnostic evaluations that would
         superficially suggest possible substantial               This was a blatant error in light of the language of
         limitations, those scores (and other                     both the statute and the relevant provisions of the
         evidence from the diagnostic evaluations)                Code of Federal Regulations. Indeed, it was the
         are not supported by - and are often                     stated goal of Congress in enacting the ADA
         inconsistent with         other important                Amendments Act to make it easier for individuals
         evidence, including her performance on                   with disabilities to obtain protection under the Act
         real-world timed tests that required                     and to mandate that the definition of "disability"
         significant amounts of reading.                          "be constrned broadly in favor of expansive
                                                                  coverage." See, 29 C .F.R . * 1630. l(c)(-+),
     In many ways, the outcome of this case is best
                                                             46   l630.2(j), and 28 C.F.R. *36. I0l(b ). The *46
     achieved by resolving a "battle of experts" and we
                                                                  Regulations clearly state that "[t]he primary object
     note our finding that all of the experts who
                                                                  of attention in cases brought under the ADA
     examined Plaintiff and/or reviewed the documents
                                                                  should be whether covered entities have complied
     on behalf of the Defendant and who testified at the
                                                                  with their obligations and whether discrimination
     preliminary injunction hearing appear eminently
                                                                  has occurred, not whether the individual meets the
     qualified. In undertaking this resolution, however,
                                                                  definition of disability." And, "[t]he question of
     we are constrained to follow the provisions of the
                                                                  whether an individual meets the definition of
     ADA and the guidance and directives set forth in
                                                                  disability under this part should not demand
     the implementing regulations. In conjunction with
                                                                  extensive analysis ." Id.(emphasis added). In re-
     those directives, we first note that unlike Mr.
                                                                  analyzing the results of the numerous diagnostic
     Livingston and Drs. Tanguay, Smiy, Ruekberg,
                                                                  tests that were administered, Drs. Zecker and
     Lewandowski, Houtman, and Smith, neither Dr.
                                                                  Lovett did just that. They thus focused on whether
     Lovett nor Dr. Zecker evaluated or even met
                                                                  Plaintiff met the definition of disability, rather
     Plaintiff before testifying before this Court at the
                                                                  than whether the covered entity had complied with
45   hearing. *45 In rejecting the findings of all of the
                                                                  their obligations under the Act(s). Indeed,
     aforesaid doctors and psychologists who
                                                                  although NBME may not have liked the
     interviewed and administered educational and
                                                                  terminology used in the implementing regulations,
     neuropsychological testing to Plaintiff in the
                                                                  despite its registered objections, the foregoing
     process of diagnosing her, Drs. Lovett and Zecker
                                                                  language is what was enacted and it is this
     focused primarily on Plaintiffs record of academic
     performance throughout her school years and her


 "' casetext                                                                                                             23
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     language which must be followed in assessing                          In view of all of the evidence provided by Plaintiff
     accommodations requests under the ADA. It                             both in the form of the materials and supporting
     decidedly did not do so in this case.                                 documentation submitted to NBME pursuant to
                                                                           her numerous requests for accommodations and
     It further appears that NBME either discounted or
                                                                           requests for reconsideration of the denials thereof
     disregarded entirely the admonition to focus on
                                                                           and at the three-day hearing before the
     "how a major life activity is substantially limited,
                                                                      48   undersigned, we *48 find that Plaintiff has
     and not on what outcomes an individual can
                                                                           sufficiently established that she is indeed a
     achieve" and apparently ignored the example that
                                                                           qualified individual with a disability within the
     "someone with a learning disability may achieve a
                                                                           meaning of the ADA despite her prior academic
     high level of academic success, but may
                                                                           successes and her performances on standardized
     nevertheless be substantially limited in the major
                                                                           tests. Indeed, we find that the evidence as outlined
47   life activity of learning because of the *47
                                                                           above supports the conclusion that, despite having
     additional time or effort he or she must spend to
                                                                           Attention Defic it/Hyperactivity Disorder and
     read, write, or learn compared to most people in
                                                                           Dyslexia/Learning           Disorder            of
     the general population." 29 C. F.R. ~ I 630.2(i )(-1)
                                                                           reading/scanning/processing speeds, Ms. Ramsay
     (iii). NBME's exclusive focus on Plaintiffs prior
                                                                           has been able through her high intelligence and
     academic successes and her performance on the
                                                                           remarkably hard work habits to achieve great
     ACT and MCAT standardized examinations
                                                                           academic success. Thus, Plaintiff has shown the
     without accommodations was therefore improper,
                                                                           requisite likelihood of success on the merits of her
     particularly given that we can discern that no
                                                                           Complaint in this matter.
     consideration was given to the other evidence
     produced by Plaintiff, including her lengthy                          We also find that the evidence supports the fi nding
                               1
     personal statement ' .                                                that Plaintiff will suffer irreparable hann unless
                                                                           granted preliminary relief. Again, the record
          I 3 It should be noted that the Personal
                                                                           evidence reflects that unless Plaintiff takes and
             Statement was required by NBM E to be
                                                                           passes her Step 1 USMLE by March 2, 2020, she
             submitted along with all of the other
                                                                           wi ll be forced to withdraw from medical school
             required documentation in order fo r the
             request     for       accommodations   to   be
                                                                           and that it is highly unlikely that she would be
             considered. --------                                          able to transfer to another school, given what has
                                                                           transpired. That enrollment in a medical school is
     Finally, we also find that Defendant ran afoul of                     a pre-requisite to being allowed to sit for the Step
     28 C.F.R . ~36.309(b)(,) which requires that "                         1 exam is further evidence of the "Catch 22" in
     [w ]hen        considering     requests      for                      which Plaintiff finds herself and further supports
     accommodations                  the     [testing]entity               the conclusion that her medical career will
     give[]considerable weight to documentation of                         effectively end if she cannot satisfy WMed's
     past modifications, accommodations, or auxiliary                      mandate by March 2, 2020. The element of
     aids or services received in similar testing                     49   irreparable harm is thus satisfied. *49
     situations ... " Again, it does not appear from the
     record that NBME gave any consideration, much                         Finally,   we   also   find   the   record   evidence
     less the "considerable weight" required to Ms.                        supportive of a finding that the balance of equities
     Ramsay's     past         record     of   having     received         and the public interest both militate in favor of
     accommodations.                                                       granting injunctive relief here. It is obviously in
                                                                           the public interest that the dictates of the ADA and
                                                                           the RHA be followed - Congress so decreed by
                                                                           passing both statutes. Further, one need only to


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     read the myriad newspaper and magazine articles                  Medical Licensing Examination ("USMLE") , is
     or watch television documentaries, among other                   obligated to offer its exams in such p lace and
     news sources, to learn that there remains a great                manner as would make those exams accessible to
     need      for   qualified   and   capable   physicians           persons with disabilities or to offer alternative
     throughout the United States, particularly in rural,             accessible arrangements for such individuals, i. e.
     economically-depressed areas of the Country.                     to provide reasonable accommodations where
     While we share       BME's concern for the                       necessary.
     fulfillment of its mission to provide such
                                                                      5. Plaintiffs request for additional (2X or double)
     physicians, we feel certain that granting this
                                                                      time to complete the USMLE was reasonable, as
     plaintiff the relief which she seeks here does not
                                                                      were her requests for a separate, distraction-
     run afoul of this goal. In granting preliminary
                                                                      reduced room for      testing, colored dry-erase
     relief,    we    are   granting   Plaintiff on ly   the
                                                                      markers to use on the laminated paper, an alarm or
     opportunity to move forward should she succeed
                                                                 51   timer *51 (either in the room, visible on the
     in passing her examinations with appropriate
                                                                      computer screen or a visual signal or reminder
     accommodations. This Court is not a licensing or
                                                                      from a proctor), water and a snack in the room to
     credentialing body and by this decision we do not
                                                                      facilitate taking needed medications at the
     assume that mantle.
                                                                      appropriate times, given the nature of her
     In furtherance of all of the preceding findings, we              disabilities.
     now enter the following:
                                                                      6. Defendant's continued denial/refusal to grant
     CONCLUSIONS OF LAW                                               Plaintiffs request for double time to take the
                                                                      USMLE was unreasonable and constitutes a
     1. This Court has jurisdiction over the parties and
                                                                      violation of her rights under the ADA.
     the subject matter of this action pursuant to 28
50   U.S.C. §§ 133 1 and 1343 . *50                                   7. Plaintiff has demonstrated a strong likelihood
                                                                      that he will succeed on the merits of the claims
     2. Plaintiff is disabled within the meaning of the
                                                                      raised in her Complaint were this case to proceed
     Americans with Disabilities and the Rehabilitation
                                                                      to trial.
     Acts by virtue of her diagnoses of Attention
     Deficit Hyperactivity Disorder, Specific Leaming                 8. Plaintiff has demonstrated that, in the absence
     Disorder   with   impairments   m   reading                      of the issuance of a preliminary injunction
     (developmental   dys lexia),  and   reading                      directing Defendant to refrain from refusing to
     comprehension, Migraine Headaches and Deep                       provide her with the reasonable accommodation of
     Vein Thrombosis/Po t-Thrombotic Syndrome.                        100% extended testing time on the USMLE Step 1
                                                                      examination, she will suffer and will continue to
     3. As a disabled individual under the foregoing
                                                                      suffer immediate irreparable harm for which there
     federal statutes, Plaintiff is entitled to reasonable
                                                                      is no adequate remedy at law.
     accommodations in sitting for examinations given
     by any person or entity relating to applications ,               An Order follows.
     licensing, credentialing, or certification for
     secondary         or    post-secondary      education,
     professional or trade purposes.

     4. Defendant       BME, by virtue of its status as the
     testing organization responsible, along with the
     Federation of State Medical Boards, for the
     administration of, inter alia, the United States


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~ casetext




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